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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                             Crim. No. 18-CR-32-2 (DLF)
               v.
                                             FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.



          PARTIES’ JOINT FILING REGARDING PROPOSED REDACTIONS
                TO THE MARCH 7, 2019 HEARING TRANSCRIPT

       Pursuant to the Court’s Minute Order of August 5, 2019, which directed the parties to

jointly propose any necessary redactions to the transcript at docket number [110], which includes

both the sealed and unsealed portions of the March 7, 2019 hearing, Defendant Concord

Management and Consulting, LLC (“Defendant” or “Concord”) and the United States

(collectively, the “Parties), by and through counsel, submit this joint filing.

       The parties hereby submit the proposed redactions attached to this pleading as Exhibit A.

Many of the proposed redactions concern discussions of the contents or handling of sensitive

discovery materials; therefore, the parties have asked that the Court approve these redactions in

order to enforce the provisions of the Protective Order that the Court has entered (and is in the

process of modifying) in this case. Because such redactions and continued sealing would protect

the interests embodied in the Protective Order, the parties submit that permitting these redactions

and continued sealing would be an appropriate exercise of the Court’s inherent power to seal court

filings. See United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v.

Warner Communications, Inc., 435 U.S. 589, 598 (1978)). The other redactions, proposed by the




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government, involve discussions of sensitive law enforcement techniques, and Concord does not

object. Publicizing discussions of these sensitive law enforcement techniques would compromise

the very law enforcement and national security interests that the Protective Order seeks to protect.

Accordingly, the parties submits that permitting these redactions would be an appropriate exercise

of the Court’s inherent power to seal court filings (and parts of Court filings). Id. With these

proposed redactions, the parties do not object to publicly docketing the transcript, including the

portion that was previously under seal.

          WHEREFORE, the parties ask that the Court permit the parties’ proposed redactions and

give the parties leave to make the proposed redactions and file those redactions publicly on the

docket.



                                      Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By:      /s/                                                 By:      /s/
Heather N. Alpino                                            Jonathan Kravis
U.S. Department of Justice                                   Deborah Curtis
National Security Division                                   Kathryn Rakoczy
950 Pennsylvania Ave. NW                                     555 Fourth Street NW
Washington, D.C. 20530                                       Washington, D.C. 20530
Telephone: (202) 514-2000                                    Telephone: (202) 252-6886




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 7, 2019, I caused a copy of the foregoing motion to seal to

be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.


                                                            By:       /s/
                                                            Kathryn L. Rakoczy
                                                            Assistant United States Attorney
                                                            555 Fourth Street NW
                                                            Washington D.C. 20530




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